        Case 1:22-cv-00212-MIS-SCY Document 7 Filed 04/27/22 Page 1 of 3


                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

G.R.,

               Plaintiff,

v.                                                     Cause No. 1:22-cv-00212 MIS-SCY

STEPHON LAABS, CAMILLE GONZALES,
MARY CADE, and ALBUQUERQUE PUBLIC
SCHOOLS,


               Defendants.


     JOINT MOTION TO VACATE INITIAL SCHEDULING ORDER AND TO SET
                         STATUS CONFERNCE

        Plaintiff G.R., Defendants Albuquerque Public Schools, Mary Cade and Camille Gonzales

(collectively “APS”), and Defendant Stephon Laabs (“Laabs”) jointly move the Court to vacate

the deadlines reflected in the current Initial Scheduling Order [Doc. 4], including the May 17, 2022

scheduling conference. The parties further seek an order that sets a status conference for June of

2022. As grounds for this Motion the parties state as follows:

        1.     This case involves claims that Defendant Laabs sexually assaulted Plaintiff G.R.

        2.     Defendant Laabs has received a target letter from the Bernalillo County District

Attorney. The allegations against Defendant Laabs are scheduled to be heard by a grand jury on

or about May 4, 2022.

        3.     Defendant Laabs has received previous target letters from the Bernalillo County

District Attorney’s Office. The proceedings that had been previously scheduled to be heard

concerning these allegations have consistently been postponed. Accordingly, it is possible that the

proceeding currently set for May 4, 2022 will not begin as scheduled.

        4.     If Defendant Laabs is indicted, the indictment will have a profound effect on the

parties’ discovery plan. For example, an indictment would potentially preclude the parties from

taking Mr. Laabs’ deposition for a lengthy period of time. Moreover, in the event of an indictment,

Mr. Laabs intends to file a motion to stay this litigation, and Plaintiff intends to oppose that motion.
        Case 1:22-cv-00212-MIS-SCY Document 7 Filed 04/27/22 Page 2 of 3


        5.      The parties agree that there is little to be gained in developing a discovery plan and

adopting a scheduling order until the parties know whether Mr. Laabs is indicted and whether the

Court will stay the litigation.

        6.      The parties further agree that a status conference in June of 2022 would be helpful

and would allow the parties and the Court to make a reasoned decision about whether the parties

are in a position to proceed with the tasks outlined in the Initial Scheduling Order [Doc. 4] at that

time.

        7.      The circumstances outlined above constitute good cause to grant this Joint Motion.

        WHEREFORE, the parties respectfully request that the Court 1) vacate the deadlines

reflected in the current Initial Scheduling Order [Doc. 4], including the May 17, 2022 scheduling

conference; and 2) enter an order that sets a status conference for June of 2022.

                                       Respectfully Submitted,

                                       MODRALL SPERLING ROEHL HARRIS & SISK, P.A.

                                     By:       /s/ Jennifer G. Anderson
                                           Jennifer G. Anderson
                                           Megan T. Muirhead
                                           500 Fourth Street NW, Suite 1000
                                           Albuquerque, NM 87102
                                           Tel: (505) 848-1800
                                           jga@modrall.com
                                           mmuirhead@modrall.com
                                       Attorneys for Defendant Albuquerque Public Schools

                                       and

                                       IVES & FLORES, PA

                                       By: Electronic Approval 04/26/22
                                           Laura Schauer Ives
                                           Adam C. Flores
                                           925 Luna Circle NW
                                           Albuquerque, NM 87102
                                           Tel: (505) 364-3858
                                           laura@nmcivilrights.com
                                           adam@nmcivilrights.com
                                       Attorneys for Plaintiff


                                                  2
Case 1:22-cv-00212-MIS-SCY Document 7 Filed 04/27/22 Page 3 of 3




                          WALSH GALLEGOS TREVIÑO
                          KYLE & ROBINSON, P.C.

                           Electronic Approval 04/26/22
                           Roxie Rawls-De Santiago
                           Evelyn Howard-Hand
                           500 Marquette Ave. NW, Suite 1310
                           Albuquerque, NM 87102-5316
                           Tel: (505) 243-6864
                           rdesantiago@wabsa.com
                           ehand@wabsa.com
                       Attorneys for Defendant Stephon Laabs




                                3
